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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )       Case No. 1:09-cr-00290
                                              )
v.                                            )       Honorable Janet T. Neff
                                              )

JAMES LEE MCCULLER ,                )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on March 15, 2010, after receiving the written consent of defendant and all counsel. At the

hearing, defendant James Lee McCuller entered a plea of guilty to Count 1 of the Second

Superseding Indictment in exchange for the undertakings made by the government in the written

plea agreement. In Count 1 of the Second Superseding Indictment, defendant is charged with

conspiracy to distribute and possess with intent to distribute 5 kilograms or more of cocaine and/or

50 grams or more of crack cocaine in violation of 21 U.S.C. §§ 846 and 841(a)(1) and (b)(1)(A)(ii)

and (iii). On the basis of the record made at the hearing, I find that defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full understanding

of each of the rights waived by defendant; that it is made voluntarily and free from any force,
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threats, or promises, apart from the promises in the plea agreement; that the defendant understands

the nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to Count 1 of the Second

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: March 15, 2010                                     /s/ Ellen S. Carmody
                                                        ELLEN S. CARMODY
                                                        United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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